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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
MARK MEADOWS,                                 )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )      Case No. 1:21CV3217 (CJN)
                                              )
NANCY PELOSI, et al.,                         )
                                              )
               Defendants.                    )
                                              )

            PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR
                        RECONSIDERATION AND STAY

       Plaintiff Mark Meadows, by and through his undersigned counsel, respectfully requests

that the Court (1) reconsider its October 31, 2022 Order and Memorandum Opinion, which sua

sponte dismissed Plaintiff’s entire complaint for lack of subject-matter jurisdiction; and (2)

temporarily stay the effectiveness of its judgment or otherwise enjoin Defendants from taking steps

to moot Plaintiff’s claims pending reconsideration (and a possible appeal, if one should be taken).

Plaintiff respectfully submits that the Court erred by invoking the Congressional Defendants’

Speech or Debate immunity over their objection and by dismissing the entire complaint for lack

of subject matter jurisdiction. He seeks reconsideration and a temporary stay at this early juncture

because, in the immediate aftermath of the Court’s order, the Congressional Defendants have

already begun efforts to enforce the subpoenas. See Moran Decl. at 1–2. If successful, those efforts

would moot some or all of Mr. Meadows’s claims before he could exercise his right to seek

reconsideration and, if necessary and appropriate, to pursue any appeal.

       In order to comply with Local Civil Rule 7(a), Mr. Meadows includes this brief

memorandum of law together with his motion to address the basis for a temporary stay and to
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indicate the grounds for reconsideration. While a party ordinarily has 28 days to file a motion to

amend or alter the judgment under Rule 59(e), the Congressional Defendants’ recent actions have

forced Mr. Meadows to seek temporary relief from this Court more swiftly. With the Court’s leave,

Mr. Meadows would propose to submit a supplemental memorandum more fully addressing the

grounds for reconsideration on or before November 18, 2022.1

       As this Court has acknowledged, its ruling on summary judgment is contrary to the

positions taken by both parties in this litigation. While Mr. Meadows did previously submit a short

supplemental brief on Speech or Debate Immunity, see ECF No. 45, he did so in responding to a

filing from the Congressional Defendants that fully disavowed its application at the present stage

of litigation. The Court’s October 31, 2022 ruling represents the first time in this litigation that the

legal position on the applicability of Speech or Debate immunity has been fully articulated.

       The Court’s June 23 Minute Order requested briefing on “(1) whether Speech or Debate

Clause immunity is applicable to all of Plaintiff's claims; (2) whether and to what extent

Defendants affirmatively waive any Speech or Debate Clause immunity as to any of Plaintiff's

claims; and, if so, (3) whether and to what extent it is possible to waive Speech or Debate Clause

immunity.” See Minute Order, June 23, 2022. The parties provided briefing on the issues identified

therein, see ECF Nos. 40, 45, but, as the Court’s opinion points out, did not address the

jurisdictional nature of Speech or Debate immunity. See ECF No. 49 at 13; see generally ECF

Nos. 40, 45. Until oral argument on September 7, the Court did not address whether Speech or

Debate immunity was jurisdictional or whether the Court could sua sponte dismiss the action.

Thus, Mr. Meadows has not had occasion to fully brief the issue upon which the Court’s October



1
  That proposed date shortens the interval in which Mr. Meadows would otherwise be afforded to
file for reconsideration under Federal Rule of Civil Procedure 59(e), which period would extend
to November 28, 2022.
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31, 2022, opinion turns. At oral argument, the Congressional Defendants—who the immunity is

meant to protect—argued that Speech or Debate immunity is not an issue the Court can raise sua

sponte. See Tr. Oral Arg. 13. Mr. Meadows agrees. Mr. Meadows thus requests an opportunity to

file supplemental briefing (and would welcome the Congressional Defendants’ doing the same)

that would allow the Court to reconsider its opinion in light of the parties’ positions and any

authorities they may bring to bear.

        First, Mr. Meadows respectfully submits that—even if Speech or Debate immunity is a

matter of the Court’s subject-matter jurisdiction which the Court may (indeed, must) raise on its

own—that doctrine would not bar, at a minimum, Mr. Meadows’s invocation of “the declaratory

judgment procedure” as a would-be defendant “to obtain advanced rulings on matters that would

be addressed in a future case of actual controversy” and could “finally and conclusively resolve

th[at] underlying controversy.” MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 n.7 (2007)

(internal quotations and emphasis omitted).2 As this Court acknowledged, Speech or Debate

immunity does not strip federal courts of subject-matter jurisdiction to review Article III

controversies in which a congressional committee seeks to enforce a subpoena against a target. See

ECF No. 49 at 13–14 (citing United States v. AT&T Co. (AT&T II), 567 F.2d 121, 129 (D.C. Cir.

1977); United States v. AT&T Co. (AT&T I), 551 F.2d 384, 391 (D.C. Cir. 1976)). And that is

precisely the posture of the underlying controversy here. Unlike in Judicial Watch, Inc. v. Schiff,

474 F. Supp. 3d 305 (D.D.C. 2020), aff’d, 998 F.3d 989 (D.C. Cir. 2021), for instance, Mr.

Meadows is not going on the offense to coerce some action out of Congress. Rather, he has come




2
  The Declaratory Judgment Act provides that, “[i]n a case of actual controversy within its
jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations
of any interested party seeking such declaration, whether or not further relief is or could be
sought.” 28 U.S.C. § 2201(a) (emphasis added).
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to the Court as a would-be defendant seeking a declaration of his rights and obligations as an

alternative to merely defying the subpoena. See MedImmune, 549 U.S. at 129 (citing Steffel v.

Thompson, 415 U.S. 452, 480 (1974) (Rehnquist, J., concurring)). The Supreme Court has made

clear that, “where threatened action by government is concerned, we do not require a plaintiff to

expose himself to liability before bringing suit to challenge the basis for the threat.” Id. at 128–29;

see also id. at 129 (“[P]utting the challenger to the choice between abandoning his rights or risking

prosecution—is ‘a dilemma that it was the very purpose of the Declaratory Judgment Act to

ameliorate.’”) (quoting Abbott Lab’ys v. Gardner, 387 U.S. 136, 152 (1967)).

       Mr. Meadows does not seek to hold any member of the Congress liable or require any

Member to do or not do anything, but instead he seeks to have his legal rights and obligations

under the congressional subpoenas considered and declared by the Court. And he does so in the

context of an underlying controversy over which the federal courts indisputably have subject-

matter jurisdiction under AT&T I and AT&T II. See United States v. Am. Tel. & Tel. Co., 551 F.2d

384, 391 (D.C. Cir. 1976); United States v. Am. Tel. & Tel. Co., 567 F.2d 121, 128 (D.C. Cir.

1977). Thus, at a minimum, his requests for declaratory relief on testimonial immunity, valid

legislative purpose, and committee composition—each of which is an issue that could “finally and

conclusively resolve the underlying controversy” if Mr. Meadows prevails, MedImmune, 549 U.S.

at 127 n.7 (emphasis omitted)—do not intrude on Speech or Debate immunity, and the Members

named in this suit have never asserted to the contrary.3

       Second, Mr. Meadows respectfully submits that the Court erred in concluding that the

Speech or Debate Clause deprives this Court of subject-matter jurisdiction even when the



3
  To the extent Mr. Meadows’s claims might call for injunctive relief that would be shielded by
the Clause, the Court could forego such relief yet still reach resolution of Mr. Meadows claims
for declaratory relief.
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Congressional Defendants have not asserted it. As the Court notes, the Supreme Court and the

D.C. Circuit have sometimes referred to Speech or Debate immunity as jurisdictional. But as the

Court further notes, “[s]tanding alone, the ‘jurisdictional’ label does not carry a straight forward

meaning.” ECF No. 49 at 10. The Court’s ultimate conclusion—that the Speech or Debate Clause

deprives (or at least can deprive) the Court of subject-matter jurisdiction, even when the party

Members have not asserted it—is inconsistent with the text and history of the Clause and its

purposes, ignores the countervailing constitutional considerations at play in this litigation, and is

not required by the precedents of the U.S. Supreme Court or the D.C. Circuit.

       The history and purpose of the Speech or Debate Clause clearly establish that it is a defense

available to legislators, not a limit on the subject-matter jurisdiction of Article III courts. The

Court’s sua sponte invocation and application of the immunity also runs directly contrary to the

Clause’s purpose, which is to prevent the courts from interfering with the prerogatives of

Congress.4 See United States v. Johnson, 383 U.S. 169, 181 (1966) (“It was not only fear of the

executive that caused concern in Parliament but of the judiciary as well, for the judges were often

lackeys of the Stuart monarchs.”); United States v. Brewster, 408 U.S. 501, 508 (1972) (“Our task,

therefore, is to apply the Clause in such a way as to insure the independence of the legislature

without altering the historic balance of the three co-equal branches of Government.”). Here, the

Court has effectively substituted its own judgment of the best interests of members of Congress

over their own.




4
 It is Mr. Meadows’s position that the subpoenas do not represent legitimate legislative activities.
But this Court concluded that the subpoenas are “protected legislative acts,” ECF No. 49 at 20, in
spite of the fact that the parties did not brief this issue because the Congressional Defendants did
not invoke Speech or Debate immunity.
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       The only conceivable harm to Congress from Mr. Meadows’s action is the “burden of

defending” itself, Powell v. McCormack, 395 U.S. 486, 503 (1969), but that is a burden that

Congress has clearly stated it wants to bear in this case. See ECF No. 40 at 8 (“Here, the

Congressional Defendants have opted not to assert Speech or Debate immunity as a legal defense

to any part of Meadows’s complaint.”). Despite the fact that Mr. Meadows seeks only declaratory

relief and despite the Congressional Defendants’ statement that they do not consider defending

this action to be a burden on their duties justifying dismissal, the Court wrested control of the

immunity from Defendants and invoked it sua sponte.

       The Speech or Debate Clause should also not be construed in a way that infringes on the

prerogatives of the Executive by barring the courthouse doors to an aide to a former President who

presents an otherwise cognizable claim that the Constitution immunizes him from being compelled

to appear before Congress to give testimony and to divulge therein matters subject to claims of

Executive Privilege. And if the Federal Judiciary were going to bolster Congressional prerogatives

this way at the expense of the Executive, one would expect it in a case where Congress has actually

advocated for the privilege. As noted above, there is no question that Article III courts have

subject-matter jurisdiction to adjudicate the underlying controversy here. In that posture, it is

firmly established that courts should—indeed, must—exercise their jurisdiction, not sua sponte

close the courthouse door. See Bridges v. Kelly, 84 F.3d 470, 475 (D.C. Cir. 1996) (“[B]ecause of

‘the virtually unflagging obligation of the federal courts to exercise the jurisdiction given them,’

the appropriateness of refraining ‘from the exercise of federal jurisdiction is the exception, not the

rule.’”) (quoting Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 817

(1976)).

                                  *       *       *       *       *



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       To facilitate reconsideration proceedings, Mr. Meadows also moves the Court to stay its

judgment and issue an administrative injunction against enforcement of the subpoenas pending the

Court’s ruling on the motion for reconsideration. “The power to stay proceedings is incidental to

the power inherent in every court to control the disposition of the causes on its docket with

economy of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299

U.S. 248, 254–55 (1936). A stay or injunction is warranted in this case to allow Mr. Meadows to

maintain the status quo while seeking timely relief of the Court’s decision. The Congressional

Defendants have made clear their intention to seek compliance with the subpoenas, a course of

action which would, if successful, moot some or all of Mr. Meadows’s claims before the natural

end of this litigation. This Court has entered an administrative injunction in similar circumstances

to allow Plaintiffs to seek relief without the threat of impending mootness. See Republican Nat'l

Comm. v. Pelosi, No. CV 22-659 (TJK), 2022 WL 1294509, at *25 (D.D.C. May 1, 2022), vacated

on other grounds, No. 22-5123, 2022 WL 4349778 (D.C. Cir. Sept. 16, 2022) (granting an

administrative injunction “to preserve the availability of meaningful judicial review” where a third

party’s compliance with subpoena could moot the case).

       The legal issues presented by this case are, as the Court has acknowledged, unique. See

ECF No. 49 at 9. A stay or injunction is warranted here to preserve the status quo and allow the

Court to fully consider the legal issues presented by the novel circumstances of this case without

interference. In the interest of justice and full consideration of the parties’ legal positions in this

case, this Court should stay its judgment or otherwise enjoin enforcement of the subpoenas pending

reconsideration.




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       In the alternative, if the Court denies this motion and forecloses Plaintiff’s opportunity to

be heard further in this Court, Plaintiff intends to lodge a timely appeal and respectfully asks this

Court to stay its order of dismissal while the appeal is adjudicated.


Dated: November 2, 2022                               Respectfully submitted,
                                                      MARK MEADOWS
                                                      By Counsel

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                               CERTIFICATE OF SERVICE

       I certify that, on November 2, 2022, a copy of the foregoing was filed on the Court’s

CM/ECF system, which will send notification to all counsel of record.

                                                   /s/ George J. Terwilliger III




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